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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION

UNITED STATES OF AMERICA,          )

V.                                 )          Case No. CR413-203

KENDALL A. STEVENS,                )

        Defendant.

                     REPORT AND RECOMMENDATION

        On April 15, 2015, defendant Kendall Stevens filed a motion to

suppress his post-arrest statements on the ground that they were

involuntary or obtained in violation 18 U.S.C. § 3501. Doc. 220.

Defendant has since entered an unconditional plea of guilty to Count

One of the indictment, doc. 236 (change of plea entered May 11, 2015),

thus waiving all nonjurisdictional claims predating his plea.      Tollett v.

Henderson, 411 U.S. 258 5 267 (1973); United States v. Pierre, 120 F.3d

1153, 1155 (11th Cir. 1997). As defendant's unconditional guilty plea

precludes any further challenge to the admissibility of his confession, his

motion to suppress (doc. 220) should be DENIED as moot.

        SO REPORTED AND RECOMMENDED this Lfday of May,
2015.

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                                         SOUTHERN DISTRICT OF GEORGIA
